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AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                              IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                                 )            8:04CR294
           Plaintiff,                                                     )
                                                                          )
v.                                                                        )   USM No: 19623-047
                                                                          )
DARRIN L. HAYNES,                                                         )    Karen M. Shanahan
                Defendant.                                                )   Defendant’s Attorney
Date of previous judgment: May 10, 2005                                   )
Amended:                   August 18, 2008                                )

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon the Court’s own motion under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed
based on a guideline sentencing range that has subsequently been lowered and made retroactive by the United States
Sentencing Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion,

IT IS ORDERED that the motion is GRANTED and the defendant’s previously imposed sentence of imprisonment (as
reflected in the last judgment issued) of 262 months, later reduced to 210 months, is now reduced to 168 months. The
Clerk is directed to deliver a copy of this Order to the U.S. Marshal.

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
     Previous Offense Level:    35                                      Amended Offense Level:       31
     Criminal History Category: V                                       Criminal History Category:   V
     Previous Guideline Range: 262              to 327         months   Amended Guideline Range:     168   to 210   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
T       The reduced sentence is within the amended guideline range.
        The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
        time of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less
        than the amended guideline range.

        Other (explain):

III. ADDITIONAL COMMENTS

Except as provided above, all provisions of the judgment dated May 10, 2005, as amended on August 18, 2008, remain in
effect.

IT IS SO ORDERED.

Dated this 2nd day of November, 2012
Effective Date: November 2, 2012

                                                               s/Laurie Smith Camp
                                                               Chief United States District Judge
